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 8
                           UNITED STATES DISTRICT COURT
 9
                         NORTHERN DISTRICT OF CALIFORNIA
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11
     CHRISTOPHER GAFFNEY, ANDRE                     Case No.: 5:18-cv-6500
12
     JEROME SOTO, JOHN C. O’LEARY,
13   GUIDO QUARTAROLI and JEFF                      COMPLAINT
     PROVANCHER, on behalf of
14                                                  FLSA COLLECTIVE ACTION – 29
     themselves and all similarly situated
15                                                  U.S.C. § 216
     individuals
16
                         Plaintiffs,
17
18         vs.
19
     CITY OF SANTA CLARA,
20
21                     Defendant.
22
                                               I.
23
                                       JURISDICTION
24
           1.     This Court has subject matter jurisdiction over this action pursuant to
25
     28 U.S.C. § 1331, as the controversy arises under “the Constitution, laws or
26
     treatises of the United States.” Specifically, the claim rises under the Fair Labor
27
     Standard Act of 1938, 29 U.S.C. §§ 201 et seq. (“FLSA”), for which the Federal
28
     Courts have jurisdiction to enforce pursuant to 29 U.S.C. § 216.
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 1                                              II.
 2                                           VENUE
 3            2.    Venue is proper in the Northern District of California pursuant to 28
 4   U.S.C. §1391(b) because the acts, events, or omissions given rise to the claim
 5   occurred in this District.
 6                                              III.
 7                                          PARTIES
 8            3.    Plaintiffs, CHRISTOPHER GAFFNEY, ANDRE JEROME SOTO,
 9   JOHN C. O’LEARY, GUIDO QUARTAROLI and JEFF PROVANCHER are
10   United States citizens and currently employed by the Defendant, City of Santa
11   Clara.
12            4.    Defendant, CITY OF SANTA CLARA (“Defendant” or “City”), is
13   and at all relevant times was, the employer of Plaintiffs. Defendant is a political
14   subdivision of the State of California. Defendant is an employer whose employees
15   are engaged in commerce within the meaning of 29 U.S.C. §207(a) and as defined
16   in 29 U.S.C. §§203(d) and 203(e)(2)(c).
17                                              IV.
18                         COLLECTIVE ACTION ALLEGATIONS
19            5.    Plaintiffs bring this action on behalf of themselves and all other
20   persons similarly situated who work, or have worked, for Defendant at any time
21   since August 24, 2014 and were not paid their complete statutory overtime
22   compensation. Those individuals are similarly situated and constitute a well-
23   defined community of interest in their respective questions of law and fact relevant
24   to this action. Plaintiffs’ claims are typical of those of other individuals similarly
25   situated. Plaintiffs will fairly and adequately represent the interests of those
26   similarly situated.
27            6.    This action is brought by Plaintiffs as a collective action, on their
28   own behalf and on behalf of all others similarly situated, under the provisions of 29

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 1   U.S.C. section 216, for damages, liquidated damages, a three-year statute of
 2   limitations plus any applicable tolling periods, and relief incident and subordinate
 3   thereto, including costs and attorney fees.
 4          7.     On information and belief, the exact number of members similarly
 5   situated in the collective group, as herein above described, is estimated to consist
 6   of well over one-hundred individuals.
 7          8.     Plaintiffs’ claims and the claims of those similarly situated depend on
 8   a showing of Defendant’s acts and omissions giving rise to Plaintiffs’ rights to
 9   relief sought herein. There is no conflict as to the named Plaintiffs and other
10   members of the collective group seeking to opt in, with respect to this action, or
11   with respect to the claims for relief herein set forth.
12          9.     This action is properly maintained as a collective action in that the
13   prosecution of separate actions by individual members of the collective group
14   would create a risk of adjudication with respect to individuals members of the class
15   which may as a practical matter be dispositive of the interests of the other members
16   not parties to the adjudications, or may substantially impair or impede their ability
17   to protect their interests.
18          10.    Plaintiff’s counsel, Dieter C. Dammeier, is experienced and capable in
19   the field of FLSA and labor/employment litigation, having represented hundreds of
20   public sector claimants in similar wage and hour claims, including several litigated
21   cases identical to the instant case.
22          11.    This action is appropriate for conditional certification as a collective
23   action because Defendant subjected Plaintiffs and all members of the collective
24   class to the same practice for purposes of the FLSA, with respect to cash payments
25   made in lieu of health insurance and other specialty pays (out of class pay,
26   paramedic pay and hazardous materials pay) but failing to include such cash
27   payments in the overtime rate calculation.
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 1         12.    This factual nexus is sufficient to justify the Court to exercise its
 2   discretion to ensure that accurate and timely notice is given to all similarly situated
 3   former and current employees of Defendant so that they may make an informed
 4   decision about whether to join this action.
 5
 6                                             V.
 7                                          FACTS
 8         13.    Plaintiffs are currently employed, or were employed between August
 9   24, 2014 and October 24, 2018 (“applicable period”), as firefighters with the
10   Defendant City of Santa Clara.
11                                     Tolling Agreement
12         14.    The City of Santa Clara and the bargaining unit representing the
13   City’s firefighters, including the Plaintiffs, entered into tolling agreements, tolling
14   any applicable statute of limitations for FLSA claims involving the improper
15   calculation of the overtime rate by excluding cash payments made in lieu of health
16   insurance, out of class pay, paramedic pay and hazardous materials pay from the
17   overtime rate calculation.
18         15.    Pursuant to the tolling agreement and extension agreements, the
19   statute of limitations was tolled from June 5, 2017 through August 5, 2018, thereby
20   adding 14 months to the two or three year statute of limitations under the FLSA.
21                          Improper “Regular Rate” Calculation
22         16.    Pursuant to 29 U.S.C. Section 207(e), the “regular rate” must include
23   all remuneration received by an employee unless it is explicitly excluded. This
24   “regular rate” is then used to calculate overtime pay under the FLSA.
25         17.    The City of Santa Clara has failed to properly include several items of
26   compensation in the “regular rate” as required by the FLSA, including cash in lieu
27   of medical benefits, out of class pay, paramedic pay and hazardous duty pay.
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 1                             Cash In Lieu of Medical Benefits
 2         18.    The City of Santa Clara and the bargaining unit representing the
 3   City’s firefighters, including the Plaintiffs, have entered into agreements set forth
 4   in Memorandum of Understandings (“MOU’s”), which allows for employees to
 5   choose a health insurance “cash in lieu” option.
 6         17.    Under the “cash in lieu” option, employees of the City, including
 7   Plaintiffs, are entitled to receive “cash-out” payments for any unused portion of
 8   their medical benefits.
 9         18.    Defendant is obligated to follow the terms of the MOU’s. (29 C.F.R.
10   §778.102)
11         19.    Plaintiffs have been exercising their option to receive the cash-out
12   payment for the unused portion of their medical benefits.
13         20.    However, Defendant has failed to apply the cash-out portions of
14   Plaintiffs unused medical benefits to Plaintiffs “regular rate” of pay when
15   calculating overtime pay.
16         21.    The Central District Court in 2013 (affirmed by the Ninth Circuit in
17   2016) found this form or payment to not be excludable in determining the “regular
18   rate” when calculating overtime payments. This was widely publicized in the
19   public employment sector and Defendant was aware of these decisions.
20         22.    In addition to the “cash-out” portion that was improperly excluded
21   from the overtime rate, the entire amount paid as either “cash-out” or for medical
22   benefits should have been included in the overtime rate. This is so because the
23   entire benefit amount is not part of a “bona-fide plan” that is required for the City
24   to exclude the amount paid toward medical benefits from the overtime rate. The
25   City’s medical benefit plan is not a “bona-fide plan” because the cash payments
26   made to employees is more than “incidental” to the plan.
27
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 1                        Specialty Pays Excluded from “Regular Rate”
 2         23.      The City of Santa Clara, pursuant to MOU’s with its firefighter
 3   bargaining unit, pays when applicable, out of class pay, paramedic pay and
 4   hazardous materials pay.
 5         24.      Here again, the City has failed to include such pays in the “regular
 6   rate” of pay for overtime calculations.
 7         25.      Defendant knew or should have known of their obligation to include
 8   the cash-out portions of Plaintiffs unused medical benefits, out of class pay,
 9   paramedic pay and hazardous materials pay that was paid to Plaintiffs in their
10   “regular rate” of pay but nevertheless failed to do so. Thus, Defendant failed to
11   pay Plaintiffs for overtime compensation at one and one half times their regular
12   rate of pay.
13         26.      Defendant acted voluntarily and deliberately in maintaining an
14   intentional practice of failing to compensate Plaintiffs in accordance with the
15   FLSA.
16         27.      Plaintiffs have no administrative remedies to exhaust, and in this
17   matter are not required to.
18                                 Settlement for Partial Damages
19         28.      The City of Santa Clara has provided payment for a portion of the
20   FLSA damages arising in this case to some of the Plaintiffs. As a prerequisite for
21   such payment, the City required employees to sign a Settlement Agreement that
22   was not approved by the Court or Department of Labor as required by the FLSA to
23   be enforceable.
24                                              VI.
25                                   CLAIM FOR RELIEF
26         29.      As a direct and proximate result of their failure and refusal to pay
27   such compensation, Defendant has violated Title 29 U.S.C. §207, et seq.
28


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 1            30.   As a direct and proximate result of Defendant’s conduct, Plaintiffs
 2   have been damaged in an amount according to proof at trial including, but not
 3   limited to, a sum equivalent to the unpaid overtime compensation as required by 29
 4   U.S.C. §216(b) and such other and further damages as may be shown at the time of
 5   trial.
 6            31.   Plaintiffs are also entitled to liquidated damages in a sum equal to the
 7   amount of the unpaid compensation due and owing pursuant to 29 U.S.C. §216(d).
 8            32.   Plaintiffs are also entitled to recovery of reasonable attorney fees and
 9   costs in pursuit of this action pursuant to 29 U.S.C. §216(b).
10            33.   Doing all things described and alleged, Defendant has deprived, and
11   continues to deprive Plaintiffs of their rights, privileges and immunities which
12   were clearly established at the time the Defendant acted herein and the Defendant
13   knew or should have known that its conduct would violate these rights, privileges
14   and immunities. The Defendant acted with the intent to deprive Plaintiffs of their
15   rights, privileges, and immunities by purposely and intentionally refusing and
16   failing to pay or compensate Plaintiffs for hours they provided.
17
18                  WHEREFORE, Plaintiffs pray for Judgment as follows:
19            34.   All actual, consequential, liquidated and incidental losses and
20   damages, according to proof;
21            35.   Such other damages as may be allowed in accordance with the Federal
22   Rules of Civil Procedure, Rule 54(c), and 29 U.S.C. §216 according to proof at
23   trial;
24            36.   Attorney fees pursuant to 29 U.S.C. §216 and costs pursuant to Rule
25   54(d) of the Federal Rules of Civil Procedure;
26            37.   Any and all other relief, including equitable relief, as the Court may
27   deem just and proper.
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 1                                      Respectfully submitted,
 2
 3   Date: October 24, 2018             DAMMEIER LAW FIRM
 4
 5                                      __/s/ Dieter C Dammeier_______
 6                                      Dieter C. Dammeier
                                        Attorneys for Plaintiffs
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